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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KENNETH GOLDSMITH,                                     )
         Plaintiff,                                    )      No. 2:16-cv-01362-MRH
                                                       )
         v.                                            )      Judge Mark R. Hornak
                                                       )
FREDERICK BAER GOLDSMITH, et al.,                      )
          Defendants.                                  )

       BRIEF IN SUPPORT OF DEFENDANT CITY OF PITTSBURGH’S MOTION TO
               DISMISS THE COMPLAINT UNDER FED. R. CIV. P. 12(b)(6)

         Defendant City of Pittsburgh files this Brief in support of its Motion to dismiss all claims

against it in the Complaint, and in support thereof states as follows.

  I.     Introduction

         On August 29, 2016, Plaintiff Kenneth Goldsmith filed this pro se action against four

Defendants: the City of Pittsburgh; Sgt. James A. Togyer, a Pittsburgh police officer; Ms. Norma

Peters, who allegedly served as maid to Plaintiff’s late father; and Plaintiff’s brother, Frederick B.

Goldsmith—whom Plaintiff describes as “Lucifer in the flesh on this good Earth.” ECF No. 1 at

3. The Complaint accuses Plaintiff’s brother of conspiring with Sgt. Togyer and the City in

furtherance of a “sinister scheme to extort and exact a withdrawal of Plaintiff’s Petition for a

Citation for an Accounting pending in the Allegheny County Orphans’ Court.” Id. at 18.

         As the Complaint alleges, there appears to be a considerable history of family discord

predating this lawsuit. The specific incidents alleged by the Complaint concern a report to the

police that, on April 1, 2014, Plaintiff trespassed at his mother’s residence and stole a cell phone.

Id. at 10. On April 6, 2014, the Complaint alleges that Sgt. Togyer “falsely filed” a criminal

complaint against Plaintiff, which “directly caused a Constitutional deprivation.” Id. at 12. A few

days later, on or about April 9, 2014, Plaintiff was located at the City-County Building and



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arrested.1 Id. at 13. Ultimately, at Plaintiff’s preliminary hearing on August 27, 2014, the charges

were dismissed. Id. at 16-17.

          Nothing in the 44-page Complaint provides a basis to maintain a Monell claim against the

City based on a plausible municipal policy or custom that allegedly caused Plaintiff’s injuries. (In

addition, Plaintiff faces a statute-of-limitations bar for all of his claims as pled, with the sole

possible exception of his malicious prosecution claim.2) Plaintiff’s Count VI for intentional

infliction of emotional distress is barred as against the City by the Political Subdivision Tort

Claims Act. Therefore, the City respectfully requests that the Court dismiss all claims against it

with prejudice, as there are no grounds to believe that an amendment could cure these legal flaws.

    II.   Standard of Review

          A complaint must be dismissed if it fails to allege “enough facts to state a claim to relief

that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “After Iqbal, it is clear that conclusory or ‘bare-bones’

allegations will no longer survive a motion to dismiss: ‘threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.’” Fowler v. UPMC

Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (quoting Iqbal, 556 U.S. at 678). Under this standard,

civil complaints “must contain more than an unadorned, the-defendant-unlawfully-harmed-me



1
  Police reports not yet in the record reflect, among other things, that car keys were also reported
missing at the house and that Plaintiff’s arrest occurred on April 8, 2014—not April 9 as alleged
in the Complaint. Regarding the other Defendants in this action, counsel for City understands that
Sgt. Togyer will be responding to the Complaint following a waiver of the service of summons;
counsel does not have knowledge about the status of service on the other Defendants.
2
  The U.S. Supreme Court is currently considering whether a so-called “malicious prosecution”
claim brought under Section 1983 is governed by the Fourth Amendment or the due process clause
of the Fourteenth Amendment. See Manuel v. City of Joliet, No. 14-9496. The Court’s ruling may
affect when the statute of limitations on such a claim begins to run. See Rory Little, Argument
preview: Does the Fourth Amendment govern a “malicious prosecution” claim, and if so, how?,
SCOTUSblog (Sep. 28, 2016, 3:24 PM).
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accusation.” Id. at 210-11; see also Patterson v. Novartis Pharm. Corp., 451 F. App’x 495, 498

(6th Cir. 2011) (“The Supreme Court’s decisions in Twombly and Iqbal do not permit a plaintiff

to proceed past the pleading stage and take discovery in order to cure a defect in a complaint.”).

Moreover, “the tenet that a court must accept as true all of the allegations contained in a complaint

is inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678.

III.      Argument

          The Complaint brings claims in six counts: (1) under 42 U.S.C. § 1983, alleged violation

of Plaintiff’s rights under the First, Fourth, Fifth and Fourteenth Amendments; (2) under 42 U.S.C.

§ 1983, alleged malicious prosecution in violation of “substantive and procedural due process and

the Fourth Amendment,” ECF No. 1 at 25; (3) under 42 U.S.C. § 1983, false arrest, false

imprisonment, illegal detention in violation of Plaintiff’s Fourth Amendment rights, id. at 18; (4)

a Monell claim for “[f]ailure to train, and supervise; customs patterns and practices in violation of

the Fourth, Fifth and Fourteenth Amendments,” id. at 19; (5) civil conspiracy, id. at 21; and (6)

intentional infliction of emotional distress, id. at 23.3

          Plaintiff has filed pro se and has paid the requisite filing fee, thus escaping Court review

of his Complaint for potential dismissal under 28 U.S.C. §§ 1915(e)(2) and 1915A. However,

while the City recognizes that Plaintiff is not represented by counsel, “[a] pro se plaintiff . . . is

still required to adhere to standard rules of civil procedure.” Brock v. Allegheny Cnty. Dist.

Attorney Office, No. 12-0914, 2013 WL 3989452, at *3 (W.D. Pa. Aug. 2, 2013) (citing McNeil v.



3
    42 U.S.C. § 1983 provides in relevant part:
         Every person who, under color of any statute, ordinance, regulation, custom, or
         usage, of any State . . . subjects, or causes to be subjected, any citizen of the United
         States or other person within the jurisdiction thereof to the deprivation of any rights,
         privileges, or immunities secured by the Constitution and laws, shall be liable to
         the party injured in an action at law, suit in equity, or other proper proceeding for
         redress . . . .
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United States, 508 U.S. 106, 113 (1993); Haines v. Kerner, 404 U.S. 519, 520 (1972)). The City

respectfully submits that the claims against it are legally insufficient, and that granting Plaintiff

leave to amend would be a waste of time and unjust. The City therefore requests that the Court

dismiss the Complaint with prejudice against it.

           A. Plaintiff has failed to identify any alleged policy or custom that caused his
              alleged injuries, as required of a Monell claim.

       Plaintiff’s claims against the City are without merit and should be dismissed. The

Complaint fails to identify any alleged policy or custom of the City of Pittsburgh at issue in this

case that caused his alleged injuries, as required to state a claim for municipal liability under 42

U.S.C. § 1983. Instead, Plaintiff’s claims against the City rely on nothing more than the same kind

of conclusory, “bare-bones” allegations found to be without merit by the U.S. Supreme Court, the

Third Circuit, and this Court—which cannot justify submitting the City to the burdens of litigation

and the discovery process.

       The blackletter law of municipal liability under Monell is as follows. While a municipality

may be held liable under certain circumstances as a “person” under 42 U.S.C. § 1983, “local

governments are responsible only for “‘their own illegal acts.’” Connick v. Thompson, 563 U.S.

51, 60 (2011) (quoting Pembauer v. Cincinnati, 475 U.S. 469, 479 (1986)); see Monell v. New

York Dep’t of Social Servs., 436 U.S. 658 (1978). Municipal liability cannot be premised merely

on the fact that the municipality employed the governmental official in question — i.e., the doctrine

of respondeat superior. See Connick, 563 U.S. at 62; Board of Comm’rs of Bryan Cty. v. Brown,

520 U.S. 397, 403 (1997). Instead, a municipality is liable under § 1983 only when its “policy or

custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to

represent official policy, inflicts the injury.” Monell, 436 U.S. at 694. “The ‘official policy’

requirement was intended to distinguish acts of the municipality from acts of employees of the

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municipality, and thereby make clear that municipal liability is limited to action for which the

municipality is actually responsible.” Pembauer, 475 U.S. at 479. Moreover, a plaintiff must allege

and prove a “direct causal link between a municipal policy or custom and the alleged constitutional

deprivation.” City of Canton v. Harris, 489 U.S. 378, 385 (1989). “A plaintiff pressing a § 1983

claim must identify a failure to provide specific training that has a causal nexus with their injuries

and must demonstrate that the absence of that specific training can reasonably be said to reflect a

deliberate indifference to whether the alleged constitutional deprivation occurred.” Reitz v. County

of Bucks, 125 F.3d 139, 145 (3d Cir. 1997).

       At a minimum, Plaintiff is required to identify the policy or custom of the municipality that

allegedly resulted in the constitutional violation. Monell, 436 U.S. at 690-91. A municipal policy

is deemed to have been made when a decisionmaker issues an official decision or proclamation.

Pembauer, 475 U.S. at 481. A municipal custom only rises to the level of an official policy where

the plaintiff shows a “permanent and well settled” course of conduct, Monell, 436 U.S. at 691,

consisting of “practices so persistent and widespread as to practically have the force of law,”

Connick, 131 S. Ct. at 1359.

       In this case, with respect to allegations about the City’s supposed liability, the only

allegations against the City of Pittsburgh (named in the case caption as “City of Pittsburgh,

Department of Public Safety”) are boilerplate legal conclusions.4 For example, Plaintiff alleges

that Defendants “were moving forces behind Plaintiff’s emotional injuries and loss of reputation,”

ECF No. 1 at 23, and that “Defendant Togyer and the Defendant City of Pittsburgh by and through




4
  The City’s Department of Public Safety cannot be sued as a separate entity. “In a section 1983
action, police departments and other departments of a municipality are not separate legal entities
from the municipality and cannot, therefore, be sued separately.” Neil v. Allegheny Cnty ., No.
120348, 2012 WL 3779182, at *1 (W.D. Pa. Aug. 31, 2012).
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its Department of Public Safety Bureau of Police, have created and tolerated an atmosphere of

lawlessness . . . and furthermore failed to properly train and supervise its officers in a manner

tantamount to deliberate indifference to the guaranteed constitutional rights and privileges of

Plaintiff – and of the public at large,” id. at 31. Plaintiff has not identified any specific municipal

policy or custom at issue, nor has he provided any factual allegations that any such policy or

custom caused Plaintiff’s alleged injuries. See also Carswell v. Borough of Homestead, 381 F.3d

235, 244 (3d Cir. 2004) (proving deliberate indifference “typically requires proof of a pattern of

underlying constitutional violations”); Wilson v. Cook Cty., 742 F.3d 775, 780 (7th Cir. 2014)

(Although there are no “brightline rules for establishing what constitutes a widespread custom or

practice, it is clear that a single incident—or even three incidents—do not suffice.”).

       Courts routinely dismiss such threadbare complaints. See Detar v. Metting, No. 14-1600,

2015 WL 3457499, at *2 (W.D. Pa. May 29, 2015) (dismissing pro se claim against the City of

Pittsburgh because “the Complaint fails to set forth any plausible basis to conclude that there was

a municipal custom, policy, or practice, generally applicable, that resulted in a Constitutional

deprivation under color of state law of a right or rights of the Plaintiff”); Ellis v. Regan, No. 14-

0004, 2014 WL 5092757, at *8 (W.D. Pa. Oct. 10, 2014) (dismissing pro se claim against the City

of Pittsburgh because “this Court agrees with Defendants that no matter how liberally the

Amended Complaint is read, it lacks any allegations concerning a ‘permanent and well settled’

course of conduct, Monell, 436 U.S. at 691, consisting of ‘practices so persistent and widespread

as to practically have the force of law.’ Connick [v. Thompson, 131 S. Ct. 1350, 1359 (U.S. 2011)].

These elements must be pled with specificity so as to establish that a ‘municipal custom’ existed

and rose to the level of an ‘official policy.’”); Butler v. City of Philadelphia, No. 11-7891, 2013

WL 5842709, at *2 (E.D. Pa. Oct. 31, 2013) (dismissing lawsuit against city because “Plaintiff’s



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complaint is completely devoid of any factual allegations relating to the City or any policy, practice

or custom that caused the alleged [a] deprivation of his constitutional rights.”).

       Having failed to identify any alleged municipal policy or custom at issue or any lack of

training or deliberate indifference on the City’s behalf, Plaintiff has a fortiori failed to allege “a

direct causal link between a municipal policy or custom and the alleged constitutional

deprivation.” City of Canton, 489 U.S. at 385. All claims against the City of Pittsburgh must

therefore be dismissed.

           B. Even if Plaintiff had successfully alleged Monell liability, Plaintiff’s claims
              against the City (except possibly the claim for malicious prosecution) are time-
              barred.

       Because the Complaint is subject to dismissal as explained above, the Court need not find

that Plaintiff’s claims are time-barred. But the City notes that Plaintiff’s claims face a significant

obstacle in the statute of limitations. In general, the statute of limitations for Section 1983 actions

brought in this Court is two years, as borrowed from Pennsylvania state law. See Smith v. City of

Pittsburgh, 764 F. 2d 188, 194 (3d Cir. 1985) (citing 42 Pa. Cons. Stat. § 5524); see also ECF No.

1 at 7 (alleging: “The statutory limitation for damages, as set forth in this 42 U.S.C. § 1983

Complaint now at instant issue in the Commonwealth of Pennsylvania is two years, 42 Pa. C. S. §

5524.”). A claim accrues when the plaintiff has a complete and present cause of action, or when

the plaintiff can file suit to obtain relief. See Wallace v. Kato, 549 U.S. 384, 388 (2007). This

means that accrual can occur as of the time the allegedly wrongful conduct occurred. Id. Therefore,

Plaintiff’s § 1983 claims against the City based on allegedly wrongful conduct leading up to and

including his arrest—as expressed in Counts I, III, IV, and V—would have accrued on April 9,

2014, at the latest. Those same claims are therefore time-barred because Plaintiff failed to file them




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on or before April 9, 2016—more than three months before Plaintiff filed this Complaint. For this

additional reason, these claims are also subject to dismissal.5

           C. Plaintiff’s state-law claim against the City of Pittsburgh in Count VI is barred
              by the Political Subdivision Tort Claims Act.

       Under Pennsylvania’s Political Subdivision Tort Claims Act, “no local agency [i.e., a

municipality] shall be liable for any damages on account of any injury to a person or property

caused by any act of the local agency or an employee thereof or any other person,” 42 Pa. Cons.

Stat. § 8541, save for limited exceptions for certain “negligent acts” enumerated in Section

8542(b). However, such exceptions do not extend to “acts or conduct which constitutes a crime,

actual fraud, actual malice or willful misconduct.” Id. § 8542(a)(2). Thus, a municipality cannot

be held liable for a claim of intentional infliction of emotional distress. See, e.g., Agresta v. City

of Philadelphia, 694 F. Supp. 117, 123 (E.D. Pa. 1988) (“As we read the pendent state law claims

in the complaint, it would appear that the plaintiff is bringing tort actions based on false arrest and

imprisonment, malicious prosecution, intentional infliction of emotional distress, and assault and

battery. As far as the City of Philadelphia is concerned, it is immune from suit for the plaintiff’s

state law claims.”) (footnote omitted); see also Beard v. Borough of Duncansville , 652 F. Supp.

2d 611, 628 (W.D. Pa. 2009) (“In the instant case, the Beards sue only a municipality, which is

immune from the intentional torts of its employees.”). Thus, Counts VI against the City must be

dismissed for this reason as well.



5
  Plaintiff’s claim for malicious prosecution may survive the statute of limitations because Plaintiff
filed on the last possible day. A claim for malicious prosecution has been held to accrue when “the
criminal proceeding ended in the plaintiff’s favor.” McKenna v. City of Philadelphia, 582 F.3d
447, 461 (3d Cir. 2009). If the malicious prosecution claim accrued on August 27, 2014, then the
statute normally would have run on August 27, 2016—however, because August 27, 2016 fell on
a Saturday, then under Fed. R. Civ. P. 6, the deadline was extended to Monday, August 29, 2016.
In any event, the City reserves the right to raise the statute of limitations as a bar to any malicious
prosecution claim as well.
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IV.    Conclusion

       For the foregoing reasons and for the reasons stated in its Motion, the City of Pittsburgh

respectfully requests that the Court dismiss all claims against it with prejudice.

                                              Respectfully submitted,

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                                              City Solicitor

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